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IN THE UNITED sTA'rEs DISTRICT coUR
FOR THE WESTERN DISTRICT oF TENNESS l:ED 'N OFEN COURT
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UNITED sTATES or AMERICA, ) INIT,ALS. ¢j.
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Pla“mff» § 051 -a)o \c,s’/
vs. ) Criminal No. 05 *&O;l Li g
§
STACY LAYNE BEAVERS, )
)
Defendant. )

 

AGREED ORDER RELEASING RESTRAINED ASSETS

 

In the Indictment in this case, at Count 89 the government alleged that various assets of
Stacy Layne Beavers were subject to forfeiture Thereaiter, pursuant to motions by the
government, the court entered various restraining Orders, including the “Second Amended Post-
lndictment Restraining Order” Which Was entered in this case on January 15, 2003 as Docket
Entry No. l 17.

Pursuant to agreement of the government and Stacy Layne Beavers, all Restraining
Orders heretofore entered in this case involving Stacy Layne Beavers are to be canceled and all
assets of Stacy Layne Beavers presently restrained are to be released These include, but are not
limited to, the interest of Stacy Layne Beavers in the following assets:

a. Real property as follows:

1) One parcel of real property located at 2424 East Windsor Drive,
Denton, Texas, 76201, and being more particularly described as
Lot 12, Blocl< E of Northwood Addition, 9th Installment, an

Thle document entered on the docket sheet in compliance

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Addition to the City of Denton, Denton County, Texas, according
to the plat thereof recorded in Cabinet D, Page 360, Plat Records,
Denton County, Texas.

2) Three parcels of real estate located in Montague County, Texas
a/k/a “The Durango Ranch, Ltd.”, a Texas.partnership.

b. Personal property as follows:

1) Contents of any and all BankOne (Denton, Texas) accounts in the
name of “Stacy Layne Beavers”; “Stacy Beavers”; “Association
Management Group”; “Crystal Palace Recording”; “General
Telemarketing, lnc.”; “Universal Communjcations”; and/or “The
Durango Ranch, Ltd.”

2) Contents of BankOne (Denton, Texas) Account #0330008418 in
the name of “Association Management Group.”

3) Contents of BankOne (Denton, Texas) Account #0330011164 in
the name of “Crystal Palace Recording.”

4) Contents of BankOne (Denton, Texas) Account #0330008715 in
the name of “General Telernarketing, Inc.” Interest Stacy Beavers

5) The interest of Stacy Beavers in the contents of BankOne (Denton,
Texas) Account #330008164 in the name of “Stron Direct
Marketing,” dfb/a “Universal Cornmunications.”

6) The interest of Stacy Beavers, Shelly Titterington, Ryan
Titterington, Darren Titterington and Richard Titterington II in the
contents of BankOne (Denton, Texas) Account #1885930378 in
the name of “The Durango Ranch, Ltd.”

7) The interest of Stacy Beavers in the contents of any and all Bank
of Montreal accounts in the name of “Stacy Layne Beavers”;
“Stacy Beavers”; “Association Management Group”; “Crystal
Palace Recording”; “General Telemarketing, Inc.”; “Providence
Marketing Corp.”; “Stron Direct Marketing”; “Universal
Communications”; and/or “The Durango Ranch, Ltd.” lnterest of
Stacy Beavers 7-16

8) The interest of Stacy Beavers in the contents of Bank of Montreal
Account (account number unknown) in the name of “Providence
Marketing Corp.”

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9) The interest of Stacy Beavers in the contents of any and all HSBC
Bank Canada accounts in the name of “Stacy Layne Beavers”;
“Stacy Beavers”; “Association Management Group”; “Crystal
Palace Recording”; “General Telemarketing, Inc.”; “Providence
Marketing Corp.”; “Stron Direct Marketing”; “Universal

Communications”; and “The Durango Ranch, Ltd.”

10) The interest of Stacy Beavers in the contents of HSBC Bank
Canada Account #425139001 in the name of “Providence
Marketing Corp.”;

ll) The interest of Stacy Beavers in the contents of Hong Kong Bank
of Canada n/k/a HSBC Bank Canada Account #240756282001 in
the name of “ITA Enterprises.”

12) The interest of Stacy Beavers in the contents of any and all Hong
Kong Bank of Canada accounts in the name of “Stacy Layne
Beavcrs”; “Stacy Beavers”; “Association Management Group”;
“Crystal Palace Recording”; “General Telemarketing, lnc.”;
“Providence Marketing Corp.”; “Stron Direct Marketing”;
“Universal Communications”; and “The Durango Ranch, Ltd.”

13) The interest of Stacy Beavers in the contents of Hong Kong Bank
of Canada n/k/a HSBC Bank Canada Account #167059702 in the
name of “Providence Marketing Colp.”; Wayne Budd, Stacey
Beavers andjor Michael Cole.

14) The interest of Stacy Beavers in the contents of any and all Bank
of NovaScotia accounts in the name of “Stacy Layne Beavers”;
“Stacy Beavers”; “Association Management Group”; “Crystal
Palace Recording”; “General Telernarketing, lnc.”; “Providence
Marketing Corp.”; “Stron Direct Marketing”; “Universal
Communications”; and “The Durango Ranch, Ltd.”

15) The interest of Stacy Beavers in the contents of Bank of Nova
Scotia Account #724939 in the name of “Providence Marketing
Corp.”; Wayne Budd, Stacey Beavers and/or Michael Cole.

16) The interest of Stacy Beavers, Shelly Titterington, Ryan
Titterington, Darren Titterington and Richard Titterington II in the
contents of any and all Bank of Nova Scotia accounts in the name
of “Stacy Layne Beavers”; “Stacy Beavers”; “Association
Management Group”; Crystal Palace Recording”; “General
Telemarketing, lnc.”; “Providence Marketing Corp.”; “Stron
Direct Marketing”; “Universal Communications”; and/or “The
Durango Ranch, Ltd.”

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One of the restrained assets referred to in the “Second Amended Post-Indictment
Restraining Order” is known as the “Durango Ranch” [see pages 44-45, paragraph a (2)]. This
real property is owned by a Texas Limited Partnership; Stacy Layne Beavers and Michael Cole
are the general partners while Shelly Titterington, Ryan Titterington, Darren Titterington and
Richard Titterington II are the limited partnersl

Any interest of Shelly Titterington, Ryan Titterington, Darren Titterington and Richard
Titterington II in the Durango Ranch that is restrained should also be released. Only the interest,
if any, of Michael Cole, should remain subject to the restraining orders of this Court.

Therefore, by agreement of the parties, it is hereby ORDERED that

(l) The Court’s “Second Amended Post-Indictment Restraining Order” is withdrawn insofar
as it restrains any assets of Stacy Layne Beavers;

(2) There is no restraint upon the interests of Shelly Titterington, Ryan Titterington, Darren
Titterington, and Richard Titterington II in the real property known as the “Durango
Ranch”;

(3) Any interest of Michael Cole in the Durango Ranch which has been restrained remains
restrained pending further orders of this Court.

(4) To the extent that any property has been restrained which is not specifically listed in the
“Second Amended Post-Indictment Restraining Order” which was entered in this case on

January 15, 2003 as Docket Entry No. 117, such property is to be unrestrained.

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ENTER this the f day of August, 2005 .

 

nited States District Judge

APPR FOR ENTRY:

,WQW_/

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Notice of Distribution

This notice confirms a copy ofthe document docketed as number 585 in
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